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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION


                                             'k


                                             'k
UNITED STATES,
                                             •k


                                             -k
             V.

                                             *            CR 113-010
                                             •k
DENTAVIA MCNAIR,
                                             k


                                             k
        Defendant.
                                             k




                                      ORDER




      Before      the   Court is    Defendant's      motion   for   reconsideration


of   his   habeas       petition    (doc.   568)    and   motion    to    relabel   his

motion     for    reconsideration      (doc.      570).   Because    these     motions

pertain to Defendant's habeas case, the Court DIRECTS the Clerk

to also DOCKET documents 568, 569, 570, and 571 in Defendant's

first habeas case (1:14-cv-214).

      ORDER ENTERED at Augusta, Georgia, this                            day of April,

2018.




                                        J.                    CHIEF JUDGE
                                        unitE^T^ates district court
                                        SOUTHERN      DISTRICT   OF GEORGIA
